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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA, Honorable Nancy G. Edmunds
Plaintiff Case no. 18-cr-20559
Vv.

D-2 NASSIF SAMI DAHER, DECLARATION AND CLAIM

| OF PRIVILEGE |

Defendant,
/

 

DECLARATION AND CLAIM OF PRIVILEGE
OF THE ATTORNEY GENERAL OF THE UNITED STATES

 

L, William P. Barr, hereby declare the following:

1. 1am the Attorney General of the United States of America and head of
the United States Department of Justice, an Executive Department of the United
States. Ihave official custody of and control over the files and records of the
United States Department of Justice. The matters stated herein are based on my
knowledge, on consideration of information available to me in my official capacity
as Attorney General, on discussions that I have had with other Justice Department

officials, and on conclusions I have reached after my review of this information.
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2. Under the authority of 50 U.S.C. § 1806(f), I submit this declaration
pursuant to the Foreign Intelligence Surveillance Act of 1978 (“FISA”), as
amended, in connection with the above-captioned criminal proceeding. Ihave
been advised that the Government presently intends to use information obtained or
derived from FISA-authorized electronic surveillance in the criminal proceeding
against defendant Nassif Sami Daher (“Daher”). See 50 U.S.C. § 1806(c).
Defendant Daher, by and through his attorney, filed a motion seeking disclosure of

_ FISA-related materials (hereafter the “defendant’s motion”). The Government
will file an opposition to the defendant’s motion. For the reasons set forth in the
Government’s opposition, it is necessary to provide this Court with the
application(s) submitted to, and the order(s) issued by, the Foreign Intelligence
Surveillance Court, as well as other related documents (hereafter collectively
referred to as “the FISA Materials”).

3. Based on the facts and considerations set forth below, I hereby claim
that it would harm the national security of the United States to disclose or hold an
adversary hearing with respect to the FISA Materials. The United States will be
submitting the relevant classified documents to this Court as part ofa “Sealed
Appendix,” so this Court may conduct an in camera, ex parte review of the legality

of the FISA collection at issue. My Claim of Privilege also extends to the
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classified portions of any memoranda and briefs the Government may file in
connection with this litigation and to any oral representations that may be made by
the Government that reference the classified information contained in the FISA
| Materials.
-4, In support of my Claim of Privilege, the United States is submitting to

the Court for in camera, ex parte review the Declaration of Michael C. McGarrity,

~ Assistant Director, Counterterrorism Division, Federal Bureau of Investigation.
Mr, McGarrity’s Declaration sets forth, in detail, the specific facts on which my
Claim of Privilege is based. The Declaration of Mr. McGarrity is classified at the
“TOP SECRET” level.

5, Relying on the facts set forth in the Declaration of Assistant Director
McGarrity, I certify that the unauthorized disclosure of the FISA Materials that are
classified at the “TOP SECRET” level reasonably could be expected to cause
exceptionally grave damage to the national security of the United States, and the
unauthorized disclosure of the FISA materials that are classified at the “SECRET”
level reasonably could be expected to cause serious damage to the national security
of the United States. The FISA Materials contain sensitive and classified
information conceming United States intelligence sources and methods and other

information related to efforts of the United States to conduct counterterrorism
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investigations, including the manner and means by which those investigations are
conducted. Asa result, the unauthorized disclosure of the information could
harm the national security interests of the United States.

6, Irespectfully request that the Court treat the contents of the Sealed
Appendix, for security purposes, in the same sensitive manner that the contents
were treated in the submission to this Court, and to return the Sealed Appendix to
the Department of Justice upon the disposition of the defendant’s motion. The
Department of Justice will retain the Sealed Appendix under the seal of the Court
subject to any further orders of this Court or other courts of competent jurisdiction.

Pursuant to Title 28, United States Code, Section 1746, I declare under
penalty of perjury that the foregoing is true and correct. Executed onthe 7 day

of , 2019.

UN para

William P. Barr
Attorney General
